Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 1 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 2 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 3 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 4 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 5 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 6 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 7 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 8 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 9 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 10 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 11 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 12 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 13 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 14 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 15 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 16 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 17 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 18 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 19 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 20 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 21 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 22 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 23 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 24 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 25 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 26 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 27 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 28 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 29 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 30 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 31 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 32 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 33 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 34 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 35 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 36 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 37 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 38 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 39 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 40 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 41 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 42 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 43 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 44 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 45 of 46
Case 4:13-cv-01142 Document 35 Filed on 11/15/13 in TXSD Page 46 of 46
